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                                 132999


                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                           Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                             MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 DELORES HORAN
 Civil Case #1:20-cv-80-RLY-TAB


       ORDER GRANTING MOTION TO SUBSTITUTE PARTY PLAINTIFF

       The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff, and

the Court, being duly advised in the premises, now grants said motion. [Filing No. 22557.]

       IT IS THEREFORE ORDERED that Marsha Batchelor, on behalf of the Estate

of Delores Horan, is substituted as Plaintiff in the above referenced action.

        Date: 8/22/2022
                                            _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana




Distribution to all registered counsel of record via CM/ECF.
